           Case 18-04661-5-DMW                    Doc 1 Filed 09/20/18 Entered 09/20/18 13:00:08                                   Page 1 of 52

Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Memento Mori, LLC

2.   All other names debtor       FDBA Mayton Landlord, LLC (XX-XXXXXXX)
     used in the last 8 years     FDBA King's Daughter Landlord, LLC (XX-XXXXXXX)
                                  FDBA Kings Daughter Tenant, LLC (XX-XXXXXXX)
     Include any assumed
     names, trade names and       DBA The Mayton Inn
     doing business as names      DBA The King's Daughters Inn
                                  DBA Rhea Hospitality
                                  DBA The Verandah
                                  FDBA DMC Historic Restoration, LLC (XX-XXXXXXX)
                                  DBA Tonic Remedies

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  301 S. Academy Street
                                  Cary, NC 27511
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Wake                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
           Case 18-04661-5-DMW                          Doc 1 Filed 09/20/18 Entered 09/20/18 13:00:08                                        Page 2 of 52
Debtor    Memento Mori, LLC                                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7211

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
          Case 18-04661-5-DMW                        Doc 1 Filed 09/20/18 Entered 09/20/18 13:00:08                                    Page 3 of 52
Debtor   Memento Mori, LLC                                                                         Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.

                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?

                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
           Case 18-04661-5-DMW                    Doc 1 Filed 09/20/18 Entered 09/20/18 13:00:08                                     Page 4 of 52
Debtor    Memento Mori, LLC                                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 20, 2018
                                                  MM / DD / YYYY


                             X   /s/ Colin Crossman                                                       Colin Crossman
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ Jason L. Hendren                                                      Date September 20, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jason L. Hendren
                                 Printed name

                                 Hendren, Redwine & Malone, PLLC
                                 Firm name

                                 4600 Marriott Drive
                                 Suite 150
                                 Raleigh, NC 27612
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (919) 420-7867                Email address      jhendren@hendrenmalone.com

                                 NC State Bar 26869 NC
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
        Case 18-04661-5-DMW                              Doc 1 Filed 09/20/18 Entered 09/20/18 13:00:08                         Page 5 of 52




 Fill in this information to identify the case:

 Debtor name         Memento Mori, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          September 20, 2018                      X /s/ Colin Crossman
                                                                       Signature of individual signing on behalf of debtor

                                                                       Colin Crossman
                                                                       Printed name

                                                                       Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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             Case 18-04661-5-DMW                              Doc 1 Filed 09/20/18 Entered 09/20/18 13:00:08                                            Page 6 of 52


 Fill in this information to identify the case:
 Debtor name Memento Mori, LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NORTH                                                                                    Check if this is an
                                                CAROLINA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Allen Grading Co,                                               judgment 17 CVS                                                                                          $60,419.38
 Inc.                                                            1468
 Attn: Managing
 Agent
 1452 Stevens Mill
 Road
 Goldsboro, NC
 27530
 Ashworth Family                                                 business loan                                                                                            $25,000.00
 Limited Partnership
 Attn: Managing
 Agent
 P.O. Box 98
 Cary, NC 27512
 Brian S. Garrett                                                business loan                                                                                            $40,000.00
 307 Malvern Hill
 Lane
 Morrisville, NC
 27560-9972
 Catherine Jernigan                                              business loan                                                                                            $27,803.47
 7727 Orange Grove
 Road
 Chapel Hill, NC
 27516
 Citi Bank                                                       credit card debt                                                                                         $33,196.43
 Attn: Managing
 Agent
 P.O. Box 9001016
 Louisville, KY 40290
 Dr. Craig Stevens                                               business loan                                                                                            $68,640.68
 1429 Salem Church
 Road
 Apex, NC 27523
 Hal K. Bowman                                                   business loan                                                                                            $50,000.00
 207 Kelso Court
 Cary, NC 27511



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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             Case 18-04661-5-DMW                              Doc 1 Filed 09/20/18 Entered 09/20/18 13:00:08                                            Page 7 of 52


 Debtor    Memento Mori, LLC                                                                                  Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Herbert A. Gardner,                                             business loan                                                                                            $50,000.00
 Jr.
 2443 Legacy Drive
 Aurora, IL 60504
 Internal Revenue                                                federal                                                                                                $175,747.00
 Service                                                         withholding
 Centralized
 Insolvency
 Operations
 P.O. Box 7346
 Philadelphia, PA
 19114-0326
 Joan Austin                                                     business loan                                                                                            $28,775.25
 701 Watts Street
 Durham, NC 27701
 Lester A. Coggins,                                              business loan                                                                                            $67,458.77
 Jr.
 9595 Silver Lake
 Drive
 Leesburg, FL
 34788-3406
 MBID                                                            business loan                                                                                          $143,137.58
 Attn: Managing
 Agent
 3408 Edgefield Road
 Greensboro, NC
 27409
 Morningstar Law                                                 legal fees                                                                                               $27,998.23
 Group
 Attn: Managing
 Agent
 421 Fayetteville
 Street, Suite 530
 Raleigh, NC 27601
 NC Department of                                                state withholding                                                                                        $23,889.00
 Revenue
 Attn: Bankruptcy
 Department
 P.O. Box 1168
 Raleigh, NC
 27602-1168
 Northwoods                                                      business loan                                                                                          $125,000.00
 Associates, LP
 Attn: Managing
 Agent
 P.O. Box 4422
 Cary, NC 27519
 PhD Posters, LLC                                                business loan                                                                                            $25,000.00
 Attn: Managing
 Agent
 3931 Colorado Ave.
 Durham, NC 27707


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Memento Mori, LLC                                                                                  Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Susquehanna Salt                                                                                                                                                       $107,873.00
 Lake, LLC
 Attn: Managing
 Agent
 136 E. S Temple,
 Suite 1400
 Salt Lake City, UT
 84111
 The Sheltering                                                  business loan                                                                                          $138,716.02
 Home Circle
 Attn: Managing
 Agent
 1204 Broad Street
 Durham, NC 27705
 Wake County Dept.                                               2018 real estate                                                                                         $82,153.07
 of Revenue                                                      taxes
 Attn: Managing
 Agent
 P.O. Box 2331
 Raleigh, NC 27602
 William Hearn                                                   business loan                                                                                          $386,064.71
 2151 Huron Drive
 Aiken, SC 29803




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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        Case 18-04661-5-DMW                                          Doc 1 Filed 09/20/18 Entered 09/20/18 13:00:08                                                                    Page 9 of 52
 Fill in this information to identify the case:

 Debtor name            Memento Mori, LLC

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $       22,956,619.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,241,921.61

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       24,198,540.61


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       17,201,318.64


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           338,320.01

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        3,269,870.41


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         20,809,509.06




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
        Case 18-04661-5-DMW                             Doc 1 Filed 09/20/18 Entered 09/20/18 13:00:08                          Page 10 of 52
 Fill in this information to identify the case:

 Debtor name         Memento Mori, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest
 2.        Cash on hand                                                                                                                           $2,984.17



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number


           3.1.    Pinnacle Financial Partners                              Checking                     4090                                             $8.06




           3.2.    Pinnacle Financial Partners                              Checking                     9224                                             $1.00




           3.3.    Capital Bank                                             Checking                     4806                                         $32.00




           3.4.    Pinnacle Financial Partners                              Checking                     5703                                             $0.01




           3.5.    Pinnacle Financial Partners                              Checking- Operating          6824                                     $2,648.22



                                                                            Checking- MI deposit
           3.6.    Pinnacle Financial Partners                              account                      4458                                         $37.60



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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 Debtor           Memento Mori, LLC                                                          Case number (If known)
                  Name


                                                                            Checking- KDI deposit
           3.7.     Pinnacle Financial Partners                             account                         5828                                $0.01




           3.8.     Capital Bank                                            Checking                        1835                        $34,814.72




           3.9.     Pinnacle Financial Partners                             Checking- DMC                   5701                              $19.01



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                         $40,544.80
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                     Valuation method used    Current value of
                                                                                                     for current value        debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership


           15.1.     Mt Charleston Landlord, LLC                                    26.58%    %      N/A                                  Unknown



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                                $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 2
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 Debtor         Memento Mori, LLC                                                             Case number (If known)
                Name


        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last        Net book value of      Valuation method used    Current value of
                                                      physical inventory      debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Restaurant food & liquor
           inventory                                                                   Unknown       N/A                                $39,000.00




 23.       Total of Part 5.                                                                                                         $39,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                    20000 Valuation method                           Current Value                             0

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           King's Daughters Inn:
           four (4) computers, eighteen (18) in room
           televisions, twenty (20) Ipads, two (2) servers,
           three (3) Ubiquiti 24 port switches, five (5)
           Ubiquiti access points, two (2) Sonos connect
           amps and one (1) Sono play                                                  Unknown       N/A                                  $6,800.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
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 Debtor         Memento Mori, LLC                                                             Case number (If known)
                Name



           Mayton Inn:
           fifty (50) in room televisisons, forty-seven (47)
           tablets, nine (9) computers, ten (10) IPads,
           three (3) servers, seven (7) Ubiquiti 48 port
           swtiches, two (2) Ubiquiti 24 port switches,
           twelve (12) Sonos connect and multiple
           amplifiers                                                                  Unknown       N/A                                $59,600.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                            $66,400.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Kitchen equipment located in The Verandah
           restaurant                                                                  Unknown       N/A                               $150,000.00


           Furniture located at The Mayton Inn                                         Unknown       N/A                               $408,556.00


           Furniture located at Kings Daughters Inn                                    Unknown       N/A                               $248,115.00



 51.       Total of Part 8.                                                                                                        $806,671.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 4
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 Debtor         Memento Mori, LLC                                                             Case number (If known)
                Name


               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. The Mayton Inn
                     301 S. Academy
                     Street
                     Cary, NC
                     (tax value $7,557,699)               Fee simple                   Unknown         Appraisal                     $17,400,000.00


            55.2.    The King's Daughters
                     Inn
                     204 N. Buchanan
                     Blvd.
                     Durham, NC
                     ($1,934,332 tax value)               Fee simple                   Unknown         Appraisal                       $4,935,000.00


            55.3.    304 Mayton View
                     Lane, Cary
                     (tax value listed)                   Fee Simple                   Unknown         N/A                               $521,619.00


            55.4.    .20 acre lot located at
                     106 East Park Street,
                     Cary
                     (tax value listed)                   Fee Simple                   Unknown         N/A                               $100,000.00




 56.        Total of Part 9.                                                                                                       $22,956,619.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 5
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 Debtor         Memento Mori, LLC                                                              Case number (If known)
                Name

59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                                Net book value of       Valuation method used      Current value of
                                                                               debtor's interest       for current value          debtor's interest
                                                                               (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            US trademarks: 87280967, 87280953 and
            87280960                                                                      Unknown      N/A                                    Unknown



 61.        Internet domain names and websites
            thekingsdaughtersinn.com
            maytoninn.com
            verandahcary.com                                                              Unknown      N/A                                    Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            customer list                                                                 Unknown      N/A                                    Unknown



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                    $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                  Current value of
                                                                                                                                  debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
            note from Mt. Charleston Landlord,                              578,611.62 -                           289,305.81 =
            LLC                                                       Total face amount     doubtful or uncollectible amount               $289,305.81

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 6
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 Debtor         Memento Mori, LLC                                                            Case number (If known)
                Name




 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

           potential law suit against Town of Cary                                                                               Unknown
           Nature of claim
           Amount requested                                              $0.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                               $289,305.81
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                        page 7
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 Debtor          Memento Mori, LLC                                                                                   Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $40,544.80

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $39,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $66,400.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $806,671.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                     $22,956,619.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                $289,305.81

 91. Total. Add lines 80 through 90 for each column                                                         $1,241,921.61            + 91b.           $22,956,619.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $24,198,540.61




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 8
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 Fill in this information to identify the case:

 Debtor name         Memento Mori, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       American Express Bank,
 2.1                                                                                                                                $0.00               Unknown
       FSB                                            Describe debtor's property that is subject to a lien
       Creditor's Name                                Blanket Lien
       Attn: Managing Agent
       4315 South 2700 West
       Salt Lake City, UT 84184
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       3/6/2014                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       American Express Bank,
 2.2                                                                                                                                $0.00               Unknown
       FSB                                            Describe debtor's property that is subject to a lien
       Creditor's Name                                Blanket Lien
       Attn: Managing Agent
       4315 South 2700 West
       Salt Lake City, UT 84184
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       1/6/2015                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 8
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 Debtor       Memento Mori, LLC                                                                        Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Bryn Mawr Equipment
 2.3                                                                                                                            $15,750.00        $10,000.00
       Finance, Inc.                                  Describe debtor's property that is subject to a lien
       Creditor's Name                                8 American Metalcraft MESA27 chafing
       Attn: Managing Agent                           dishes, 10 American Metalcraft MESA19
       620 West Germantown Pike                       chafing dishes, ice cuber, condender unit,
       #310                                           coupling kit, water filter, ice bin and deflector,
       Plymouth Meeting, PA                           ice maker and ice dispenser
       19462
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       12/16/2015                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Ibis Capital Group LLC dba
 2.4                                                                                                                           $115,123.00         Unknown
       Nugrowth                                       Describe debtor's property that is subject to a lien
       Creditor's Name                                Blanket Lien
       Attn: Managing Agent
       One Blue Hill Plaza, Suite
       1514
       Pearl River, NY 10965
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       4/7/2016                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5   Key Equipment Finance                          Describe debtor's property that is subject to a lien                      $11,450.00        $20,000.00
       Creditor's Name                                precor equipment listed on invoice #00902587
       Attn: Managing Agent
       1000 S. McCaslin Blvd.
       Superior, CO 80027

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 8
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 Debtor       Memento Mori, LLC                                                                        Case number (if know)
              Name

       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2/10/2016                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.6   Mercantile Capital Corp.                       Describe debtor's property that is subject to a lien                 $5,137,500.00       $17,400,000.00
       Creditor's Name                                The Mayton Inn
                                                      301 S. Academy Street
       Attn: Managing Agent                           Cary, NC
       60 N Court Ave, Ste 300                        (tax value $7,557,699)
       Orlando, FL 32801
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       10/2014                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9000
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. USEDLC, LLC
       2. Mercantile Capital Corp.
       3. Town of Cary
       4. Town of Cary

 2.7   NC Department of Revenue                       Describe debtor's property that is subject to a lien                     $135,767.64         Unknown
       Creditor's Name                                Judgment (Wake & Durham)
       Attn: Bankruptcy
       Department
       P.O. Box 1168
       Raleigh, NC 27602-1168
       Creditor's mailing address                     Describe the lien
                                                      Judgment
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3 of 8
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 Debtor       Memento Mori, LLC                                                                        Case number (if know)
              Name

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.8   Pinnacle Bank                                  Describe debtor's property that is subject to a lien                 $3,238,564.00        $4,935,000.00
       Creditor's Name                                The King's Daughters Inn
       Attn: Managing Agent or                        204 N. Buchanan Blvd.
       Officer                                        Durham, NC
       5925 Farrington Road                           ($1,934,332 tax value)
       Chapel Hill, NC 27517
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       7/2008                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       2900
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.9   Town of Cary                                   Describe debtor's property that is subject to a lien                 $1,370,142.00       $17,400,000.00
       Creditor's Name                                The Mayton Inn
                                                      301 S. Academy Street
       Attn: Managing Agent                           Cary, NC
       P.O. Box 8005                                  (tax value $7,557,699)
       Cary, NC 27513
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       10/2014                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.6

 2.1
 0     Town of Cary                                   Describe debtor's property that is subject to a lien                     $951,350.00     $17,400,000.00




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 4 of 8
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 Debtor       Memento Mori, LLC                                                                        Case number (if know)
              Name

       Creditor's Name                                The Mayton Inn
                                                      301 S. Academy Street
       Attn: Managing Agent                           Cary, NC
       P.O. Box 8005                                  (tax value $7,557,699)
       Cary, NC 27513
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       10/2014                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.6

 2.1
 1     Town of Cary                                   Describe debtor's property that is subject to a lien                     Unknown         Unknown
       Creditor's Name                                Blanket Lien
       Attn: Managing Agent
       P.O. Box 8005
       Cary, NC 27513
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       11/5/2014                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   U.S. Small Business
 2     Adminiatraton                                  Describe debtor's property that is subject to a lien                     Unknown         Unknown
       Creditor's Name                                For Notice Purposes Only
       Attn: Managing Agent
       409 3rd Street SW
       Washington, DC 20416
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 5 of 8
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 Debtor       Memento Mori, LLC                                                                        Case number (if know)
              Name


       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   US Bank Equipment
 3     Finance                                        Describe debtor's property that is subject to a lien                     $59,762.00        $75,000.00
       Creditor's Name                                kitchen equipment
       Attn: Managing Agent
       1310 Madrid Street
       Marshall, MN 56258
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       10/6/2015                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 4     USEDLC, LLC                                    Describe debtor's property that is subject to a lien                 $6,138,775.00      $17,400,000.00
       Creditor's Name                                The Mayton Inn
       Attn: Managing Agent or                        301 S. Academy Street
       Officer                                        Cary, NC
       1 World Trade Center, Suite                    (tax value $7,557,699)
       1180
       Long Beach, CA 90831
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       10/2014                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1130
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.6

 2.1
 5     Xeros Inc.                                     Describe debtor's property that is subject to a lien                     $27,135.00        $27,000.00



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 6 of 8
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 Debtor       Memento Mori, LLC                                                                        Case number (if know)
              Name

       Creditor's Name                                Seal Lion washing machines
       Attn: Managing Agent                           s/n 1409129 and 1409130
       250 Commercial Street
       Suite 4002A
       Manchester, NH 03101
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       7/14/2015                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



                                                                                                                               $17,201,318.
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        64

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Alan B. Powell
        Roberson, Haworth & Reese PLLC                                                                          Line   2.8
        300 North Main St, Ste 300
        High Point, NC 27260

        Christine Simpson, Town Attorney
        Town of Cary                                                                                            Line   2.9
        316 N. Academy Street
        Cary, NC 27513

        Christine Simpson, Town Attorney
        Town of Cary                                                                                            Line   2.10
        316 N. Academy Street
        Cary, NC 27513

        IRH Capital, LLC
        Attn: Managing Agent                                                                                    Line   2.13
        707 Skoie Blvd., Ste 540
        Northbrook, IL 60062

        John C. Cooke
        Womble Bond Dickinson                                                                                   Line   2.9
        555 Fayetteville Street, Suite 1100
        Raleigh, NC 27601

        John C. Cooke
        Womble Bond Dickinson                                                                                   Line   2.10
        555 Fayetteville Street, Suite 1100
        Raleigh, NC 27601


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 7 of 8
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 Debtor       Memento Mori, LLC                                                          Case number (if know)
              Name

        Justin Blackhall, Esq.
        Blackhall P.C.                                                                          Line   2.14
        17 State Street, Suite 4000
        New York, NY 10004




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property               page 8 of 8
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 Fill in this information to identify the case:

 Debtor name         Memento Mori, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown           Unknown
           Dept. of Employment Security                              Check all that apply.
           Attn: Managing Agent                                         Contingent
           P.O. Box 25903                                               Unliquidated
           Raleigh, NC 27611-5903                                       Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     For Notice Purposes Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $7,297.64         $7,297.64
           Durham County Tax                                         Check all that apply.
           Administration                                               Contingent
           200 East Main Street                                         Unliquidated
           1st Floor, Old Courthouse                                    Disputed
           Durham, NC 27701
           Date or dates debt was incurred                           Basis for the claim:
           July - September                                          occupancy tax

           Last 4 digits of account number 3531                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 11
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 Debtor       Memento Mori, LLC                                                                               Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $13,119.61    $13,119.61
          Durham County Tax                                          Check all that apply.
          Administration                                                Contingent
          200 East Main Street                                          Unliquidated
          1st Floor, Old Courthouse                                     Disputed
          Durham, NC 27701
          Date or dates debt was incurred                            Basis for the claim:
                                                                     2018 real estate taxes

          Last 4 digits of account number 5456                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $175,747.00    $175,747.00
          Internal Revenue Service                                   Check all that apply.
          Centralized Insolvency Operations                             Contingent
          P.O. Box 7346                                                 Unliquidated
          Philadelphia, PA 19114-0326                                   Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     federal withholding

          Last 4 digits of account number 1139                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $23,889.00    $23,889.00
          NC Department of Revenue                                   Check all that apply.
          Attn: Bankruptcy Department                                   Contingent
          P.O. Box 1168                                                 Unliquidated
          Raleigh, NC 27602-1168                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     state withholding

          Last 4 digits of account number 3531                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $9,180.54    $9,180.54
          NC Department of Revenue                                   Check all that apply.
          Attn: Bankruptcy Department                                   Contingent
          P.O. Box 1168                                                 Unliquidated
          Raleigh, NC 27602-1168                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     SUI

          Last 4 digits of account number 0136                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 11
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 Debtor       Memento Mori, LLC                                                                               Case number (if known)
              Name

 2.7       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $22,545.28        $22,545.28
           Wake County Dept. of Revenue                              Check all that apply.
           Attn: Managing Agent                                         Contingent
           P.O. Box 2331                                                Unliquidated
           Raleigh, NC 27602                                            Disputed

           Date or dates debt was incurred                           Basis for the claim:
           July - September                                          occupancy tax

           Last 4 digits of account number 0145                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.8       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $4,387.87    $4,387.87
           Wake County Dept. of Revenue                              Check all that apply.
           Attn: Managing Agent                                         Contingent
           P.O. Box 2331                                                Unliquidated
           Raleigh, NC 27602                                            Disputed

           Date or dates debt was incurred                           Basis for the claim:
           7/20/18                                                   food tax

           Last 4 digits of account number 0785                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.9       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $82,153.07        $82,153.07
           Wake County Dept. of Revenue                              Check all that apply.
           Attn: Managing Agent                                         Contingent
           P.O. Box 2331                                                Unliquidated
           Raleigh, NC 27602                                            Disputed

           Date or dates debt was incurred                           Basis for the claim:
           7/20/2018                                                 2018 real estate taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           0297,9148,1840
                                                                        No
           Specify Code subsection of PRIORITY
           unsecured claim: 11 U.S.C. § 507(a) (8)                      Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $60,419.38
           Allen Grading Co, Inc.                                                      Contingent
           Attn: Managing Agent                                                        Unliquidated
           1452 Stevens Mill Road                                                      Disputed
           Goldsboro, NC 27530
                                                                                   Basis for the claim:     judgment 17 CVS 1468
           Date(s) debt was incurred 2/10/2017
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $13,571.47
           Allen Wilcox                                                                Contingent
           213 Watts Street                                                            Unliquidated
           Durham, NC 27701                                                            Disputed
           Date(s) debt was incurred     4/3/2009                                  Basis for the claim:     business loan
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 3 of 11
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 Debtor       Memento Mori, LLC                                                                       Case number (if known)
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,244.00
          Amadeus Hospitality Americas, Inc.                                    Contingent
          Attn: Managing Agent                                                  Unliquidated
          29618 Network Place
                                                                                Disputed
          Chicago, IL 60673
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,786.97
          American Express                                                      Contingent
          Attn: Managing Agent                                                  Unliquidated
          P.O. Box 1270                                                         Disputed
          Newark, NJ 07101
                                                                             Basis for the claim:    credit card debt
          Date(s) debt was incurred
          Last 4 digits of account number       1007                         Is the claim subject to offset?     No       Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,000.00
          Ashworth Family Limited Partnership                                   Contingent
          Attn: Managing Agent                                                  Unliquidated
          P.O. Box 98                                                           Disputed
          Cary, NC 27512
                                                                             Basis for the claim:    business loan
          Date(s) debt was incurred 10/7/2014
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $40,000.00
          Brian S. Garrett                                                      Contingent
          307 Malvern Hill Lane                                                 Unliquidated
          Morrisville, NC 27560-9972                                            Disputed
          Date(s) debt was incurred 10/14/2014
                                                                             Basis for the claim:    business loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Budd-Piper Roofing, Inc.                                              Contingent
          Attn: Managing Agent                                                  Unliquidated
          506 Ramseur Street
                                                                                Disputed
          Durham, NC 27701
          Date(s) debt was incurred 5/4/2016
                                                                             Basis for the claim:    Claim of Lien 16 M 1882
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,803.47
          Catherine Jernigan                                                    Contingent
          7727 Orange Grove Road                                                Unliquidated
          Chapel Hill, NC 27516                                                 Disputed
          Date(s) debt was incurred 7/14/2008
                                                                             Basis for the claim:    business loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $33,196.43
          Citi Bank                                                             Contingent
          Attn: Managing Agent                                                  Unliquidated
          P.O. Box 9001016                                                      Disputed
          Louisville, KY 40290
                                                                             Basis for the claim:    credit card debt
          Date(s) debt was incurred
          Last 4 digits of account number       4325                         Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 4 of 11
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 Debtor       Memento Mori, LLC                                                                       Case number (if known)
              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $317,443.21
          Colin & Deanna Crossman                                               Contingent
          304 Mayton View Lane                                                  Unliquidated
          Cary, NC 27511                                                        Disputed
          Date(s) debt was incurred 11/7/2015
                                                                             Basis for the claim:    business loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,540.00
          Conde Nast Publications. LTD                                          Contingent
          Vouge House, Hanover Square                                           Unliquidated
          GRB W1S 1JU
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,583.37
          Crave Interactive                                                     Contingent
          Attn: Managing Agent                                                  Unliquidated
          7 East 14th St #PHO                                                   Disputed
          New York, NY 10003
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $127,057.73
          David Gardner                                                         Contingent
          1025 Anna Lake Lane                                                   Unliquidated
          Cary, NC 27513                                                        Disputed
          Date(s) debt was incurred 6/28/2016
                                                                             Basis for the claim:    business loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,000.00
          David Gardner                                                         Contingent
          1025 Anna Lake Lane                                                   Unliquidated
          Cary, NC 27513                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,000.00
          Dina Properties, LLC                                                  Contingent
          Attn: Managing Agent                                                  Unliquidated
          3504 Valley Court                                                     Disputed
          Raleigh, NC 27612
                                                                             Basis for the claim:    business loan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,615.56
          Dixon Hughes Goodman, LLP                                             Contingent
          Attn: Managing agent                                                  Unliquidated
          2501 Blue Ridge Road #500                                             Disputed
          Raleigh, NC 27607
                                                                             Basis for the claim:    accounting fees
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 5 of 11
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 Debtor       Memento Mori, LLC                                                                       Case number (if known)
              Name

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,222.87
          DN Kisley PE                                                          Contingent
          Attn: Managing Agent                                                  Unliquidated
          115 MacKenan Drive
                                                                                Disputed
          Cary, NC 27511
          Date(s) debt was incurred 8/2/2016
                                                                             Basis for the claim:    judgment 16 CVM 9600
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $68,640.68
          Dr. Craig Stevens                                                     Contingent
          1429 Salem Church Road                                                Unliquidated
          Apex, NC 27523                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,184.33
          Duke Energy                                                           Contingent
          Attn: Managing Agent                                                  Unliquidated
          P.O. Box 1003                                                         Disputed
          Charlotte, NC 28201
                                                                             Basis for the claim:    utilties
          Date(s) debt was incurred
          Last 4 digits of account number       4440                         Is the claim subject to offset?     No       Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,825.99
          Duke Energy Progress                                                  Contingent
          Attn: Managing Agent                                                  Unliquidated
          PO Box 1003                                                           Disputed
          Charlotte, NC 28201-1003
                                                                             Basis for the claim:    utilities
          Date(s) debt was incurred
          Last 4 digits of account number       6998                         Is the claim subject to offset?     No       Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,682.25
          Falcon Engineering                                                    Contingent
          Attn: Managing Agent                                                  Unliquidated
          1210 Trinity Road #110
                                                                                Disputed
          Cary, NC 27513
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,840.00
          FLSA                                                                  Contingent
          Attn: Managing Agent                                                  Unliquidated
          1731 Round Rock Drive
                                                                                Disputed
          Raleigh, NC 27615
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50,000.00
          Hal K. Bowman                                                         Contingent
          207 Kelso Court                                                       Unliquidated
          Cary, NC 27511                                                        Disputed
          Date(s) debt was incurred      10/1/2014                           Basis for the claim:    business loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Memento Mori, LLC                                                                       Case number (if known)
              Name

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21,364.56
          Herbert A. Gardner, Jr.                                               Contingent
          2443 Legacy Drive                                                     Unliquidated
          Aurora, IL 60504                                                      Disputed
          Date(s) debt was incurred 7/14/2008
                                                                             Basis for the claim:    business loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50,000.00
          Herbert A. Gardner, Jr.                                               Contingent
          2443 Legacy Drive                                                     Unliquidated
          Aurora, IL 60504                                                      Disputed
          Date(s) debt was incurred 10/14/2014
                                                                             Basis for the claim:    business loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,775.25
          Joan Austin                                                           Contingent
          701 Watts Street                                                      Unliquidated
          Durham, NC 27701                                                      Disputed
          Date(s) debt was incurred      7/14/2008                           Basis for the claim:    business loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,974.15
          Kabbage Loan                                                          Contingent
          Attn: Managing Agent                                                  Unliquidated
          P.O. Box 77073                                                        Disputed
          Atlanta, GA 30357
                                                                             Basis for the claim:    business loan
          Date(s) debt was incurred
          Last 4 digits of account number       Loan B                       Is the claim subject to offset?     No       Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22,493.33
          Kabbage Loan                                                          Contingent
          Attn: Managing Agent                                                  Unliquidated
          P.O. Box 77073                                                        Disputed
          Atlanta, GA 30357
                                                                             Basis for the claim:    business loan
          Date(s) debt was incurred
          Last 4 digits of account number       Loan C                       Is the claim subject to offset?     No       Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $225,000.00
          Kim & Leslie Crossman                                                 Contingent
          3204 Cabarrus Drive                                                   Unliquidated
          Greensboro, NC 27407                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50,000.00
          Lee Gardner                                                           Contingent
          2443 Legacy Drive                                                     Unliquidated
          Aurora, IL 60504                                                      Disputed
          Date(s) debt was incurred      10/14/2014                          Basis for the claim:    business loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 7 of 11
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        Case 18-04661-5-DMW                             Doc 1 Filed 09/20/18 Entered 09/20/18 13:00:08                                             Page 33 of 52
 Debtor       Memento Mori, LLC                                                                       Case number (if known)
              Name

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34,402.34
          Lee Gardner                                                           Contingent
          2443 Legacy Drive                                                     Unliquidated
          Aurora, IL 60504                                                      Disputed
          Date(s) debt was incurred      7/14/2008                           Basis for the claim:    business loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $67,458.77
          Lester A. Coggins, Jr.                                                Contingent
          9595 Silver Lake Drive                                                Unliquidated
          Leesburg, FL 34788-3406                                               Disputed
          Date(s) debt was incurred 3/30/2009
                                                                             Basis for the claim:    business loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $143,137.58
          MBID                                                                  Contingent
          Attn: Managing Agent                                                  Unliquidated
          3408 Edgefield Road                                                   Disputed
          Greensboro, NC 27409
                                                                             Basis for the claim:    business loan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,998.23
          Morningstar Law Group                                                 Contingent
          Attn: Managing Agent                                                  Unliquidated
          421 Fayetteville Street, Suite 530                                    Disputed
          Raleigh, NC 27601
                                                                             Basis for the claim:    legal fees
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $125,000.00
          Northwoods Associates, LP                                             Contingent
          Attn: Managing Agent                                                  Unliquidated
          P.O. Box 4422                                                         Disputed
          Cary, NC 27519
                                                                             Basis for the claim:    business loan
          Date(s) debt was incurred 10/16/2014
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,000.00
          Oral Technologies                                                     Contingent
          Attn: Managing Agent                                                  Unliquidated
          202 Wood Liily Lane                                                   Disputed
          Cary, NC 27518
                                                                             Basis for the claim:    business loan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $88,866.12
          Pat Blaser                                                            Contingent
          102 Benedum Place                                                     Unliquidated
          Cary, NC 27518                                                        Disputed
          Date(s) debt was incurred      1/22/2016                           Basis for the claim:    business loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 8 of 11
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 Debtor       Memento Mori, LLC                                                                       Case number (if known)
              Name

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,000.00
          PhD Posters, LLC                                                      Contingent
          Attn: Managing Agent                                                  Unliquidated
          3931 Colorado Ave.                                                    Disputed
          Durham, NC 27707
                                                                             Basis for the claim:    business loan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50,000.00
          Preservation II, Inc.                                                 Contingent
          Attn: Managing Agent                                                  Unliquidated
          1020 Timber Lane                                                      Disputed
          Wilmette, IL 60091
                                                                             Basis for the claim:    business loan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,770.66
          PSNC Energy                                                           Contingent
          Attn: Managing agent                                                  Unliquidated
          PO Box 100256                                                         Disputed
          Columbia, SC 29202
                                                                             Basis for the claim:    utilities
          Date(s) debt was incurred
          Last 4 digits of account number       4048                         Is the claim subject to offset?     No       Yes


 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,292.44
          Robert & Beth Emerson                                                 Contingent
          1202 N. Gregson Street                                                Unliquidated
          Durham, NC 27701                                                      Disputed
          Date(s) debt was incurred 4/10/2009
                                                                             Basis for the claim:    business loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $67,927.25
          Robert Crossman                                                       Contingent
          2409 Sundial Court                                                    Unliquidated
          Fort Myers, FL 33908                                                  Disputed
          Date(s) debt was incurred      7/14/2008                           Basis for the claim:    business loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,216.28
          Robert Shibley                                                        Contingent
          805 Clarendon Road                                                    Unliquidated
          Jenkintown, PA 19046                                                  Disputed
          Date(s) debt was incurred 7/14/2008
                                                                             Basis for the claim:    business loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $700,000.00
          Sunstone Capital                                                      Contingent
          Attn: Managing Agent                                                  Unliquidated
          1 World Trade Center, Suite 1130                                      Disputed
          Long Beach, CA 90831
                                                                             Basis for the claim:    business loan
          Date(s) debt was incurred 2/24/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 9 of 11
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 Debtor       Memento Mori, LLC                                                                       Case number (if known)
              Name

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $107,873.00
          Susquehanna Salt Lake, LLC                                            Contingent
          Attn: Managing Agent                                                  Unliquidated
          136 E. S Temple, Suite 1400                                           Disputed
          Salt Lake City, UT 84111
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,500.00
          The B&B Team                                                          Contingent
          Attn: Managing Agent                                                  Unliquidated
          P.O. Box 339                                                          Disputed
          Scottsville, VA 24590
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $138,716.02
          The Sheltering Home Circle                                            Contingent
          Attn: Managing Agent                                                  Unliquidated
          1204 Broad Street                                                     Disputed
          Durham, NC 27705
                                                                             Basis for the claim:    business loan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,787.40
          Time Warner Cable/Spectrum                                            Contingent
          Attn: Managing Agent                                                  Unliquidated
          P.O. Box 70872                                                        Disputed
          Charlotte, NC 28272
                                                                             Basis for the claim:    utilites
          Date(s) debt was incurred
          Last 4 digits of account number       9501                         Is the claim subject to offset?     No       Yes


 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $868.61
          Time Warner Cable/Spectrum                                            Contingent
          Attn: Managing Agent                                                  Unliquidated
          P.O. Box 70872                                                        Disputed
          Charlotte, NC 28272
                                                                             Basis for the claim:    utilities
          Date(s) debt was incurred
          Last 4 digits of account number       5601                         Is the claim subject to offset?     No       Yes


 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,000.00
          TKPR                                                                  Contingent
          Attn: Managing Agent                                                  Unliquidated
          349 Ascot Ridge Lane                                                  Disputed
          Greer, SC 29650
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,000.00
          Vito Tanzi                                                            Contingent
          28 Mason Drive                                                        Unliquidated
          Manhasset, NY 11030                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 10 of 11
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 Debtor       Memento Mori, LLC                                                                       Case number (if known)
              Name

 3.52      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,726.00
           Westfield Insurance                                                  Contingent
           Attn: Managing Agent                                                 Unliquidated
           P.O. Box 5001                                                        Disputed
           Westfield Center, OH 44251
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number      2278                         Is the claim subject to offset?       No     Yes


 3.53      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $386,064.71
           William Hearn                                                        Contingent
           2151 Huron Drive                                                     Unliquidated
           Aiken, SC 29803                                                      Disputed
           Date(s) debt was incurred     3/24/2009                           Basis for the claim:    business loan
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                      338,320.01
 5b. Total claims from Part 2                                                                            5b.   +    $                    3,269,870.41

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        3,608,190.42




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 11 of 11
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        Case 18-04661-5-DMW                             Doc 1 Filed 09/20/18 Entered 09/20/18 13:00:08                            Page 37 of 52
 Fill in this information to identify the case:

 Debtor name         Memento Mori, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.        State what the contract or                   Lease of Mayton
             lease is for and the nature of               garage
             the debtor's interest

                  State the term remaining                9/1/2019                     Cotton House Craft Brewers, LLC
                                                                                       Attn: Managing Agent
             List the contract number of any                                           307 S. Academt Street
                   government contract                                                 Cary, NC 27511


 2.2.        State what the contract or                   Lease of loft space at
             lease is for and the nature of               King's Daughter Inn
             the debtor's interest

                  State the term remaining

             List the contract number of any                                           Denel & Gary Pugh
                   government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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       Case 18-04661-5-DMW                              Doc 1 Filed 09/20/18 Entered 09/20/18 13:00:08                        Page 38 of 52
 Fill in this information to identify the case:

 Debtor name         Memento Mori, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Colin Crossman                    304 Mayton View Lane                              Pinnacle Bank                      D   2.8
                                               Cary, NC 27511                                                                       E/F
                                                                                                                                    G




    2.2      Colin Crossman                    304 Mayton View Lane                              USEDLC, LLC                        D   2.14
                                               Cary, NC 27511                                                                       E/F
                                                                                                                                    G




    2.3      Colin Crossman                    304 Mayton View Lane                              Mercantile Capital                 D   2.6
                                               Cary, NC 27511                                    Corp.                              E/F
                                                                                                                                    G




    2.4      Colin Crossman                    304 Mayton View Lane                              Town of Cary                       D   2.9
                                               Cary, NC 27511                                                                       E/F
                                                                                                                                    G




    2.5      Colin Crossman                    304 Mayton View Lane                              Town of Cary                       D   2.10
                                               Cary, NC 27511                                                                       E/F
                                                                                                                                    G




Official Form 206H                                                      Schedule H: Your Codebtors                                            Page 1 of 6
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 Debtor       Memento Mori, LLC                                                       Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.6      Colin Crossman                    304 Mayton View Lane                        Sunstone Capital                 D
                                               Cary, NC 27511                                                               E/F       3.44
                                                                                                                            G




    2.7      Colin Crossman                    304 Mayton View Lane                        Dr. Craig Stevens                D
                                               Cary, NC 27511                                                               E/F       3.18
                                                                                                                            G




    2.8      Colin Crossman                    304 Mayton View Lane                        Northwoods                       D
                                               Cary, NC 27511                              Associates, LP                   E/F       3.35
                                                                                                                            G




    2.9      Colin Crossman                    304 Mayton View Lane                        Hal K. Bowman                    D
                                               Cary, NC 27511                                                               E/F       3.23
                                                                                                                            G




    2.10     Colin Crossman                    304 Mayton View Lane                        Brian S. Garrett                 D
                                               Cary, NC 27511                                                               E/F       3.6
                                                                                                                            G




    2.11     Colin Crossman                    304 Mayton View Lane                        Ashworth Family                  D
                                               Cary, NC 27511                              Limited Partnership              E/F       3.5
                                                                                                                            G




    2.12     Colin Crossman                    304 Mayton View Lane                        Ibis Capital Group               D   2.4
                                               Cary, NC 27511                              LLC dba Nugrowth                 E/F
                                                                                                                            G




    2.13     Crossman                          301 S. Academy Street                       USEDLC, LLC                      D   2.14
             Properties, LLC                   Cary, NC 27511                                                               E/F
                                                                                                                            G




Official Form 206H                                                     Schedule H: Your Codebtors                                     Page 2 of 6
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 Debtor       Memento Mori, LLC                                                       Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.14     Crossman                          301 S. Academy Street                       Mercantile Capital               D   2.6
             Properties, LLC                   Cary, NC 27511                              Corp.                            E/F
                                                                                                                            G




    2.15     Crossman                          301 S. Academy Street                       Town of Cary                     D   2.9
             Properties, LLC                   Cary, NC 27511                                                               E/F
                                                                                                                            G




    2.16     Crossman                          301 S. Academy Street                       Town of Cary                     D   2.10
             Properties, LLC                   Cary, NC 27511                                                               E/F
                                                                                                                            G




    2.17     Deanna                            304 Mayton View Lane                        Pinnacle Bank                    D   2.8
             Crossman                          Cary, NC 27511                                                               E/F
                                                                                                                            G




    2.18     Deanna                            304 Mayton View Lane                        USEDLC, LLC                      D   2.14
             Crossman                          Cary, NC 27511                                                               E/F
                                                                                                                            G




    2.19     Deanna                            304 Mayton View Lane                        Mercantile Capital               D   2.6
             Crossman                          Cary, NC 27511                              Corp.                            E/F
                                                                                                                            G




    2.20     Deanna                            304 Mayton View Lane                        Town of Cary                     D   2.9
             Crossman                          Cary, NC 27511                                                               E/F
                                                                                                                            G




    2.21     Deanna                            304 Mayton View Lane                        Town of Cary                     D   2.10
             Crossman                          Cary, NC 27511                                                               E/F
                                                                                                                            G




Official Form 206H                                                     Schedule H: Your Codebtors                                  Page 3 of 6
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 Debtor       Memento Mori, LLC                                                       Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.22     Deanna                            304 Mayton View Lane                        Sunstone Capital                 D
             Crossman                          Cary, NC 27511                                                               E/F       3.44
                                                                                                                            G




    2.23     Deanna                            304 Mayton View Lane                        Dr. Craig Stevens                D
             Crossman                          Cary, NC 27511                                                               E/F       3.18
                                                                                                                            G




    2.24     Deanna                            304 Mayton View Lane                        Northwoods                       D
             Crossman                          Cary, NC 27511                              Associates, LP                   E/F       3.35
                                                                                                                            G




    2.25     Deanna                            304 Mayton View Lane                        Hal K. Bowman                    D
             Crossman                          Cary, NC 27511                                                               E/F       3.23
                                                                                                                            G




    2.26     Deanna                            304 Mayton View Lane                        Brian S. Garrett                 D
             Crossman                          Cary, NC 27511                                                               E/F       3.6
                                                                                                                            G




    2.27     Deanna                            304 Mayton View Lane                        Ashworth Family                  D
             Crossman                          Cary, NC 27511                              Limited Partnership              E/F       3.5
                                                                                                                            G




    2.28     Deanna                            304 Mayton View Lane                        Ibis Capital Group               D   2.4
             Crossman                          Cary, NC 27511                              LLC dba Nugrowth                 E/F
                                                                                                                            G




    2.29     Deanna                            304 Mayton View Lane                        American Express                 D
             Crossman                          Cary, NC 27511                                                               E/F       3.4
                                                                                                                            G




Official Form 206H                                                     Schedule H: Your Codebtors                                     Page 4 of 6
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 Debtor       Memento Mori, LLC                                                       Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.30     Deanna                            304 Mayton View Lane                        Budd-Piper Roofing,              D
             Crossman                          Cary, NC 27511                              Inc.                             E/F       3.7
                                                                                                                            G




    2.31     Kim R. Crossman                   3204 Cabarrus Drive                         Mercantile Capital               D   2.6
                                               Greensboro, NC 27407                        Corp.                            E/F
                                                                                                                            G




    2.32     Kim R. Crossman                   3204 Cabarrus Drive                         USEDLC, LLC                      D   2.14
                                               Greensboro, NC 27407                                                         E/F
                                                                                                                            G




    2.33     Kim R. Crossman                   3204 Cabarrus Drive                         Town of Cary                     D   2.9
                                               Greensboro, NC 27407                                                         E/F
                                                                                                                            G




    2.34     Kim R. Crossman                   3204 Cabarrus Drive                         Town of Cary                     D   2.10
                                               Greensboro, NC 27407                                                         E/F
                                                                                                                            G




    2.35     Leslie G.                         3204 Cabarrus Drive                         Mercantile Capital               D   2.6
             Crossman                          Greensboro, NC 27407                        Corp.                            E/F
                                                                                                                            G




    2.36     Leslie G.                         3204 Cabarrus Drive                         USEDLC, LLC                      D   2.14
             Crossman                          Greensboro, NC 27407                                                         E/F
                                                                                                                            G




    2.37     Leslie G.                         3204 Cabarrus Drive                         Town of Cary                     D   2.9
             Crossman                          Greensboro, NC 27407                                                         E/F
                                                                                                                            G




Official Form 206H                                                     Schedule H: Your Codebtors                                     Page 5 of 6
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 Debtor       Memento Mori, LLC                                                       Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.38     Leslie G.                         3204 Cabarrus Drive                         Town of Cary                     D   2.10
             Crossman                          Greensboro, NC 27407                                                         E/F
                                                                                                                            G




Official Form 206H                                                     Schedule H: Your Codebtors                                  Page 6 of 6
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                                                               United States Bankruptcy Court
                                                                     Eastern District of North Carolina
 In re      Memento Mori, LLC                                                                                Case No.
                                                                                    Debtor(s)                Chapter       11

                                                          LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                               Security Class Number of Securities              Kind of Interest
 business of holder
 Andy Albright                                                                                                          0.23%
 215C Altamahaw Union Ridge Road
 Burlington, NC 27217

 Ashworth Family Limited Partnership                                                                                    0.68%
 Attn: Managing Agent
 P.O. Box 98
 Cary, NC 27512

 Bridgepoint Civil                                                                                                      0.55%
 Attn: Managing Agent
 3733 US Hwy 117N
 Goldsboro, NC 27530

 Bridgepoint GC                                                                                                         0.99%
 Attn: Managing Agent
 112 S. Duke Street, Ste 7
 Durham, NC 27701

 Cana Investments, LLC                                                                                                  0.45%
 Attn: Managing Agent
 1003 Pond Street
 Cary, NC 27511

 Christine Hu                                                                                                           2.27%
 4089 Fennel Terrace
 Fremont, CA 94538

 Colin Crossman                                                                                                         39.44%
 304 Mayton View Lane
 Cary, NC 27511

 David Gardner                                                                                                          2.02%
 1025 Anna Lake Lane
 Cary, NC 27513

 David Schantz                                                                                                          0.45%
 1600 Dogwood View Lane
 Raleigh, NC 27614

 Deanna Crossman                                                                                                        41.02%
 304 Mayton View Lane
 Cary, NC 27511




Sheet 1 of 4 in List of Equity Security Holders
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 In re:    Memento Mori, LLC                                                                    Case No.
                                                                                   Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities   Kind of Interest
 business of holder

 Dina Properties, LLC                                                                                      0.27%
 Attn: Managing Agent
 3504 Valley Court
 Raleigh, NC 27612

 Elizabeth Peters                                                                                          0.36%
 20 Lawrence Drive
 Saint Louis, MO 63141

 Eno Ventures, LLC                                                                                         0.32%
 Attn: Managing Agent
 1535 Herimtage Court
 Durham, NC 27707

 Eric Porter                                                                                               0.51%
 725 Hokan Trail
 Lima, OH 45805

 Erik Fredrick Revocable Trust                                                                             0.59%
 Attn: Managing Agent
 3711 Fews Ford Lane
 Durham, NC 27712

 Howard Glicksman                                                                                          0.23%
 4106 Colville Road
 Durham, NC 27707

 Jeff Schenk                                                                                               0.34%
 1318 Dale Street, Suite 1100
 Raleigh, NC 27605

 John Staddon                                                                                              0.23%
 5 Glenmore Drive
 Durham, NC 27707

 Justin Thomas                                                                                             0.23%
 1325 Farmview Road
 Hillsborough, NC 27278

 Keleher Family Irrevocable Trust                                                                          0.68%
 Attn: Managing Agent
 301 Brooks Avenue
 Raleigh, NC 27607

 Kim R. Crossman                                                                                           1.05%
 3204 Cabarrus Drive
 Greensboro, NC 27407



List of equity security holders consists of 4 total page(s)
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 In re:    Memento Mori, LLC                                                                    Case No.
                                                                                   Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities   Kind of Interest
 business of holder

 Lemon & Lemon Investments, LLC                                                                            0.36%
 Attn: Managing Agent
 301 Keybridge Drive
 Morrisville, NC 27560

 Oral Technologies                                                                                         0.23%
 Attn: Managing Agent
 202 Wod Lily Lane
 Cary, NC 27518

 Pat Blaser                                                                                                0.23%
 102 Benedum Place
 Cary, NC 27518

 Preservation II, Inc.                                                                                     0.45%
 Attn: Managing Agent
 1020 Timber Lane
 Wilmette, IL 60091

 Reed Frankel                                                                                              0.45%
 8 Bryncastle Court
 Durham, NC 27707

 Robert Eubanks                                                                                            0.23%
 108 Bailey Ride Drive
 Morrisville, NC 27560

 Sanyin Siang                                                                                              0.27%
 601 Watts Street
 Durham, NC 27701

 Sheila Ogle                                                                                               0.23%
 215 S. Academy Street
 Cary, NC 27511

 Sunstone Growth Fund I, LLC                                                                               2.96%
 Attn: Managing Agent
 17 State Street, Suite 4000
 New York, NY 10004

 Taylor Haley                                                                                              0.25%
 1460 Moss Rock Place
 Boulder, CO 80304

 Venepalli Living Trust                                                                                    0.27%
 Attn: Managing Agent
 329 Matilda Place
 Cary, NC 27513


List of equity security holders consists of 4 total page(s)
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 In re:    Memento Mori, LLC                                                                             Case No.
                                                                                     Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder

 Virucha, LLC                                                                                                                   0.23%
 Attn: Managing Agent
 144 Anita Way
 Cary, NC 27513

 Vito Tanzi                                                                                                                     0.23%
 28 Mason Drive
 Manhasset, NY 11030

 White Oak Pharmacy, Inc.                                                                                                       0.68%
 Attn: Managing Agent
 P.O. Box 3347
 Spartanburg, SC 29304


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date September 20, 2018                                                     Signature /s/ Colin Crossman
                                                                                            Colin Crossman

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




List of equity security holders consists of 4 total page(s)
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                                                               United States Bankruptcy Court
                                                                     Eastern District of North Carolina
 In re      Memento Mori, LLC                                                                             Case No.
                                                                                     Debtor(s)            Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       September 20, 2018                                           /s/ Colin Crossman
                                                                          Colin Crossman/Manager
                                                                          Signer/Title




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Alan B. Powell                        Brian S. Garrett                    Crave Interactive
Roberson, Haworth & Reese PLLC        307 Malvern Hill Lane               Attn: Managing Agent
300 North Main St, Ste 300            Morrisville, NC 27560-9972          7 East 14th St #PHO
High Point, NC 27260                                                      New York, NY 10003



Allen Grading Co, Inc.                Bryn Mawr Equipment Finance, Inc.   Crossman Properties, LLC
Attn: Managing Agent                  Attn: Managing Agent                301 S. Academy Street
1452 Stevens Mill Road                620 West Germantown Pike #310       Cary, NC 27511
Goldsboro, NC 27530                   Plymouth Meeting, PA 19462



Allen Wilcox                          Budd-Piper Roofing, Inc.            David Gardner
213 Watts Street                      Attn: Managing Agent                1025 Anna Lake Lane
Durham, NC 27701                      506 Ramseur Street                  Cary, NC 27513
                                      Durham, NC 27701



Amadeus Hospitality Americas, Inc.    Catherine Jernigan                  Deanna Crossman
Attn: Managing Agent                  7727 Orange Grove Road              304 Mayton View Lane
29618 Network Place                   Chapel Hill, NC 27516               Cary, NC 27511
Chicago, IL 60673



American Express                      Christine Simpson, Town Attorney    Dept. of Employment Security
Attn: Managing Agent                  Town of Cary                        Attn: Managing Agent
P.O. Box 1270                         316 N. Academy Street               P.O. Box 25903
Newark, NJ 07101                      Cary, NC 27513                      Raleigh, NC 27611-5903



American Express Bank, FSB            Citi Bank                           Dina Properties, LLC
Attn: Managing Agent                  Attn: Managing Agent                Attn: Managing Agent
4315 South 2700 West                  P.O. Box 9001016                    3504 Valley Court
Salt Lake City, UT 84184              Louisville, KY 40290                Raleigh, NC 27612



Ashworth Family Limited Partnership   Colin & Deanna Crossman             Dixon Hughes Goodman, LLP
Attn: Managing Agent                  304 Mayton View Lane                Attn: Managing agent
P.O. Box 98                           Cary, NC 27511                      2501 Blue Ridge Road #500
Cary, NC 27512                                                            Raleigh, NC 27607



Bankruptcy Administrator, EDNC        Colin Crossman                      DN Kisley PE
434 Fayetteville Street               304 Mayton View Lane                Attn: Managing Agent
Suite 640                             Cary, NC 27511                      115 MacKenan Drive
Raleigh, NC 27601                                                         Cary, NC 27511



Bill Janvier                          Conde Nast Publications. LTD        Dr. Craig Stevens
Janvier Law Firm, PLLC                Vouge House, Hanover Square         1429 Salem Church Road
311 East Edenton Street               GRB W1S 1JU                         Apex, NC 27523
Raleigh, NC 27601
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Duke Energy                              IRH Capital, LLC                      Leslie G. Crossman
Attn: Managing Agent                     Attn: Managing Agent                  3204 Cabarrus Drive
P.O. Box 1003                            707 Skoie Blvd., Ste 540              Greensboro, NC 27407
Charlotte, NC 28201                      Northbrook, IL 60062



Duke Energy Progress                     Joan Austin                           Lester A. Coggins, Jr.
Attn: Managing Agent                     701 Watts Street                      9595 Silver Lake Drive
PO Box 1003                              Durham, NC 27701                      Leesburg, FL 34788-3406
Charlotte, NC 28201-1003



Durham County Tax Administration         John C. Cooke                         MBID
200 East Main Street                     Womble Bond Dickinson                 Attn: Managing Agent
1st Floor, Old Courthouse                555 Fayetteville Street, Suite 1100   3408 Edgefield Road
Durham, NC 27701                         Raleigh, NC 27601                     Greensboro, NC 27409



Falcon Engineering                       Justin Blackhall, Esq.                Mercantile Capital Corp.
Attn: Managing Agent                     Blackhall P.C.                        Attn: Managing Agent
1210 Trinity Road #110                   17 State Street, Suite 4000           60 N Court Ave, Ste 300
Cary, NC 27513                           New York, NY 10004                    Orlando, FL 32801



FLSA                                     Kabbage Loan                          Morningstar Law Group
Attn: Managing Agent                     Attn: Managing Agent                  Attn: Managing Agent
1731 Round Rock Drive                    P.O. Box 77073                        421 Fayetteville Street, Suite 530
Raleigh, NC 27615                        Atlanta, GA 30357                     Raleigh, NC 27601



Hal K. Bowman                            Key Equipment Finance                 NC Department of Revenue
207 Kelso Court                          Attn: Managing Agent                  Attn: Bankruptcy Department
Cary, NC 27511                           1000 S. McCaslin Blvd.                P.O. Box 1168
                                         Superior, CO 80027                    Raleigh, NC 27602-1168



Herbert A. Gardner, Jr.                  Kim & Leslie Crossman                 Northwoods Associates, LP
2443 Legacy Drive                        3204 Cabarrus Drive                   Attn: Managing Agent
Aurora, IL 60504                         Greensboro, NC 27407                  P.O. Box 4422
                                                                               Cary, NC 27519



Ibis Capital Group LLC dba Nugrowth      Kim R. Crossman                       Oral Technologies
Attn: Managing Agent                     3204 Cabarrus Drive                   Attn: Managing Agent
One Blue Hill Plaza, Suite 1514          Greensboro, NC 27407                  202 Wood Liily Lane
Pearl River, NY 10965                                                          Cary, NC 27518



Internal Revenue Service                 Lee Gardner                           Pat Blaser
Centralized Insolvency Operations        2443 Legacy Drive                     102 Benedum Place
P.O. Box 7346                            Aurora, IL 60504                      Cary, NC 27518
Philadelphia, PA 19114-0326
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PhD Posters, LLC                        The B&B Team                        Vito Tanzi
Attn: Managing Agent                    Attn: Managing Agent                28 Mason Drive
3931 Colorado Ave.                      P.O. Box 339                        Manhasset, NY 11030
Durham, NC 27707                        Scottsville, VA 24590



Pinnacle Bank                           The Sheltering Home Circle          Wake County Dept. of Revenue
Attn: Managing Agent or Officer         Attn: Managing Agent                Attn: Managing Agent
5925 Farrington Road                    1204 Broad Street                   P.O. Box 2331
Chapel Hill, NC 27517                   Durham, NC 27705                    Raleigh, NC 27602



Preservation II, Inc.                   Time Warner Cable/Spectrum          Westfield Insurance
Attn: Managing Agent                    Attn: Managing Agent                Attn: Managing Agent
1020 Timber Lane                        P.O. Box 70872                      P.O. Box 5001
Wilmette, IL 60091                      Charlotte, NC 28272                 Westfield Center, OH 44251



PSNC Energy                             TKPR                                William Hearn
Attn: Managing agent                    Attn: Managing Agent                2151 Huron Drive
PO Box 100256                           349 Ascot Ridge Lane                Aiken, SC 29803
Columbia, SC 29202                      Greer, SC 29650



Robert & Beth Emerson                   Town of Cary                        Xeros Inc.
1202 N. Gregson Street                  Attn: Managing Agent                Attn: Managing Agent
Durham, NC 27701                        P.O. Box 8005                       250 Commercial Street Suite 4002A
                                        Cary, NC 27513                      Manchester, NH 03101



Robert Crossman                         U.S. Attorney
2409 Sundial Court                      Attn: Civil Process Clerk
Fort Myers, FL 33908                    310 New Bern Ave, Suite 800
                                        Raleigh, NC 27601



Robert Shibley                          U.S. Small Business Adminiatraton
805 Clarendon Road                      Attn: Managing Agent
Jenkintown, PA 19046                    409 3rd Street SW
                                        Washington, DC 20416



Sunstone Capital                        US Bank Equipment Finance
Attn: Managing Agent                    Attn: Managing Agent
1 World Trade Center, Suite 1130        1310 Madrid Street
Long Beach, CA 90831                    Marshall, MN 56258



Susquehanna Salt Lake, LLC              USEDLC, LLC
Attn: Managing Agent                    Attn: Managing Agent or Officer
136 E. S Temple, Suite 1400             1 World Trade Center, Suite 1180
Salt Lake City, UT 84111                Long Beach, CA 90831
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                                                               United States Bankruptcy Court
                                                                     Eastern District of North Carolina
 In re      Memento Mori, LLC                                                                               Case No.
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                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Memento Mori, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 September 20, 2018                                                     /s/ Jason L. Hendren
 Date                                                                   Jason L. Hendren
                                                                        Signature of Attorney or Litigant
                                                                        Counsel for Memento Mori, LLC
                                                                        Hendren, Redwine & Malone, PLLC
                                                                        4600 Marriott Drive
                                                                        Suite 150
                                                                        Raleigh, NC 27612
                                                                        (919) 420-7867 Fax:(919) 420-0475
                                                                        jhendren@hendrenmalone.com




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